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                            Exhibit 194
    Plaintiffs’ Corrected Averment of Jurisdictional Facts and
Evidence and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1
       Case 1:03-md-01570-GBD-SN                                Document 10602-5                Filed 12/09/24         Page
                                                                                                                       Al    2 of
                                                                                                                          Rajhi   4
                                                                                                                                Exhibit

                                                                                                                             ARB 51
                                                                                                                        9/28/23 Carrie Campbell, RDR

1     BRANCH_CA           ACCNO           ACCDATE           TRXCODE          AMOUNT              NOTES         ORIGBRANCH   USERTRX        USERAUTH
2    -----------      -----------      -----------       -----------      -----------   -----------           -----------   -----------   -----------
3    29600                   6006      19980428          001              -1163000      Al-Haramain Islamic   16600         HIST
                                                                                        Founda on
4    29600                 6006        19980629          001              -5000000      To the order of Al-   16600         HIST
                                                                                        Haramain Islamic
                                                                                        Founda on

6    29600                 6006        19981230          001              -10000000     Al-Haramain Islamic   16600         HIST
                                                                                        Founda on



9    29600                 6006        19990111          001              -20000000     Al-Haramain Islamic   16600         HIST
                                                                                        Founda on
10   29600                 6006        19990408          001              -18750000     Al-Haramain Islamic   16600         HIST
                                                                                        Founda on
11   29600                 6006        19990419          001              -30000000     Al-Haramain Islamic   16600         HIST
                                                                                        Founda on
12   29600                 6006        19990505          001              -1250000      Al-Haramain Islamic   16600         HIST
                                                                                        Founda on
13   29600                 6006        19990511          001              -15000000     Al-Haramain Islamic   16600         HIST
                                                                                        Founda on
14   29600                 6006        19991215          001              -5340000      Al-Haramain Islamic   16600         HIST
                                                                                        Founda on
15   29600                 6006        20000508          001              -18750000     Aqil al Aqil          16600         HIST
16   29600                 6006        20000518          001              -15000000     Al-Haramain Islamic   16600         HIST
                                                                                        Founda on

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     United States District Court for the Southern District of New York
                                                                                                                               ARB-00039960
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                   TRANSLATION CERTIFICATION STATEMENT

Project: ARB 39960




Language: Arabic > English

Documents:
ARB 39960




TRANSLATOR STATEMENT
I hereby declare that, to the best of my knowledge and belief, the translation of the
above referenced documents is a true, accurate and complete translation of the original.


Name of Certifying Translator:              Farah Alshekhli
                  BA in Translation and Interpretation Studies, 17 years of experience, certified in Medical Terminology
Qualifications:


Signed:                                                                            Date:    05/22/2023




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